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                                    No. 15-1371C
                              (Filed February 19, 2016)
                              NOT FOR PUBLICATION

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HENRY BARRERA,          *
                        *                                                FILED
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             Plaintiff, *                                              FEB 19 2016
                        *
         v.             *                                            U.S. COURT OF
                                                                    FEDERAL CLAIMS
                        *
THE UNITED STATES,      *
                        *
             Defendant. *
                        *
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                                       ORDER
       On February 5, 2016, plaintiff filed a motion requesting that the Court
appoint, pursuant to 28 U.S.C. § 1915(e)(l), counsel to assist plaintiff with his case.
While the government has not yet responded to this motion, Section 1915(e) does
not authorize a court to "appoint" an attorney to represent an indigent litigant, but
instead merely to "request" one to do so. See Mallard v. U.S. Dist. Court for S. Dist.
of Iowa, 490 U.S. 296, 300-09, 109 S.Ct. 1814, 104 L.Ed.2d 318 (1989).

       The Court generally refrains from making such requests, which an attorney
may feel leaves him no choice but to accept. The very concept of a branch of our
national government compelling an attorney to represent a party without payment
for his services is inimical to the purpose of our Court, which exists to ensure that
citizens are compensated when the government takes or contracts for their property
or services. In any event, when sought by a plaintiff in a civil matter who is unable
to afford counsel, courts may appropriately involve themselves in the securing of
counsel only in "extraordinary circumstances" with severe potential consequences-
such as the danger of being civilly committed, see Vitek v. Jones, 445 U.S. 480 (1980)
(plurality opinion in relevant part), or of losing custody of a child, see Lassiter v.
Dept. of Soc. Servs., 452 U.S. 18 (1981). Here, plaintiffs claim is for compensation,
based on his treatment at Riker's Island, including an extended period of holding in
an overcrowded "ball pen." Compensation claims by their nature fall short of the
extraordinary circumstances justifying court-requested assistance.
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       Having failed to demonstrate the extraordinary circumstances that would
make it appropriate for the Court to request that a lawyer represent him, plaintiffs
motion is DENIED. Moreover, as discussed below, plaintiffs case also does not fall
within: the requirements for referral to the Court of Federal Claims Bar
Association's pro bono referral program.

        Plaintiffs motion has prompted the Court to review the papers plaintiff has
filed in this case as well as the motion to dismiss the case filed by the government.
Mister Barrera seeks $2,000,000 for compensation for "pain suffering, physical and
mental anguish" due to New York City Department of Correction's failure to house
him within 24 hours of his arraignment. Compl. ilil 1-2. As a result, plaintiff slept
on the floor of the crowded holding "ball pen" for five days and was denied medical
attention for the same five days. Id. The government moved to dismiss plaintiffs
complaint due to a failure to state a claim within this court's jurisdiction under Rule
12(b)(l) of the Rules of the United States Court of Federal Claims (RCFC). Mot. at
2-4. Plaintiffs claims concern the conduct of the New York City Department of
Corrections and not the United States government.

       This court has power to hear only cases brought against the United States
government, primarily money claims based on grounds other than torts. See 28
U.S.C. § 1491. Mister Barrera's complaint contains no factual allegations
concerning the United States government, much less anything related to our
subject-matter jurisdiction (such as a federal contract or a money-mandating
statute). Because the matters raised by Mr. Barrera are clearly outside of our
court's jurisdiction, referral to the pro bono program would be futile.

      This case is accordingly DISMISSED, under RCFC 12(b)(l), for lack of
subject-matter jurisdiction. The Clerk's office shall close the case. In light of Mr.
Barrera's confusion regarding the scope of our court's jurisdiction, and taking into
consideration the minimal diversion of court resources entailed by this matter, the
Court waives Mr. Barrera's filing fee.


IT IS SO ORDERED.




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